       Case 16-04336-5-DMW                             Doc 62 Filed 09/02/16 Entered 09/02/16 11:27:30                           Page 1 of 76




 Fill in this information to identify the case:

 Debtor name         Sona BLW Precision Forge, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)         16-04336-5
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          September 2, 2016                       X /s/ Todd Downie
                                                                       Signature of individual signing on behalf of debtor

                                                                       Todd Downie
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            Sona BLW Precision Forge, Inc.

 United States Bankruptcy Court for the:                       EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)               16-04336-5
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $        6,084,550.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $       18,168,550.01

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       24,253,100.01


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        5,700,570.57


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            14,302.25

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       12,623,205.49


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         18,338,078.31




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         Sona BLW Precision Forge, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)         16-04336-5
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                                $627.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.    PNC Bank                                                 Money market                    1057                                             $0.00




           3.2.    PNC Bank                                                 Collection account              2039                                    $66,323.01



                                                                            General Operating
           3.3.    PNC Bank                                                 Account                         0185                                             $0.00




           3.4.    ICICI                                                    Pass through account            1527                                     Unknown



                                                                            Used for foreign
           3.5.    Suntrust Bank                                            currency exchange               2EUR                                             $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                     $66,950.01
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor           Sona BLW Precision Forge, Inc.                                               Case number (If known) 16-04336-5
                  Name



 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Deposit with UPS Express Mail                                                                                            $800.00




           7.2.     Deposit with Town of Selma - water/sewer                                                                               $5,000.00




           7.3.     Deposits with Progress Energy for accounts ending 6222, 8227 and 5193                                              $170,181.00




           7.4.     Deposit with Coolant Chillers                                                                                          $1,098.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


 9.        Total of Part 2.                                                                                                         $177,079.00
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                         2,345,244.00    -                                0.00 = ....            $2,345,244.00
                                              face amount                        doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                        $2,345,244.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 2
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 Debtor         Sona BLW Precision Forge, Inc.                                                   Case number (If known) 16-04336-5
                Name



           General description                        Date of the last           Net book value of      Valuation method used    Current value of
                                                      physical inventory         debtor's interest      for current value        debtor's interest
                                                                                 (Where available)

 19.       Raw materials
           Raw Materials - steel                      March 31, 2016                    $1,068,052.00                                   $1,068,052.00



 20.       Work in progress
           Work in progress                           March 31, 2016                    $2,871,574.00                                   $2,871,574.00



 21.       Finished goods, including goods held for resale
           Finished product                           March 31, 2016                     $184,675.00                                      $184,675.00



 22.       Other inventory or supplies
           Inventory                                                                       Unknown                                           Unknown



 23.       Total of Part 5.                                                                                                          $4,124,301.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                       Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used    Current value of
                                                                                 debtor's interest      for current value        debtor's interest
                                                                                 (Where available)

 39.       Office furniture
           Office furniture, fixtures, office equipment                                    Unknown                                           Unknown



 40.       Office fixtures


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 3
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 Debtor         Sona BLW Precision Forge, Inc.                                                Case number (If known) 16-04336-5
                Name

           Fixtures                                                                       $808.00                                           $808.00



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Office equipment                                                           $58,033.00                                        $58,033.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                            $58,841.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used    Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value        debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     2004 F150 Heritage - mileage: 952,984                              $1,550.00    NADA                                 $1,550.00


           47.2.     2008 Ford Expedition XLT - mileage:
                     171,044                                                            $6,425.00    NADA                                 $6,425.00


           47.3.     2004 GMC Envoy SLT - mileage:
                     207,466                                                            $3,100.00    NADA                                 $3,100.00


           47.4.     2004 Honda Civic DX - mileage: 144,181                             $2,175.00    NADA                                 $2,175.00


           47.5.     2013 Nissan Murano - mileage: 36,141                             $21,025.00     NADA                               $21,025.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 4
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 Debtor         Sona BLW Precision Forge, Inc.                                                Case number (If known) 16-04336-5
                Name

            Production equipment and support                                                $0.00      Appraisal                       $4,399,250.00


            General plant support                                                           $0.00      Appraisal                         $138,750.00



 51.        Total of Part 8.                                                                                                       $4,572,275.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used   Current value of
            property                                      extent of           debtor's interest        for current value       debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. Office building and
                     12.04 acres located at
                     500 Oak Tree Drive,
                     Selma, NC with
                     additional 5.34 acre
                     tract                                Fee simple               $6,084,550.00       Tax records                     $6,084,550.00




 56.        Total of Part 9.                                                                                                         $6,084,550.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 5
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 Debtor         Sona BLW Precision Forge, Inc.                                                Case number (If known) 16-04336-5
                Name

            General description                                               Net book value of        Valuation method used   Current value of
                                                                              debtor's interest        for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            Customer list                                                                   $0.00                                          Unknown



 64.        Other intangibles, or intellectual property
            Clearance with United States to make parts for
            government vehicles                                                             $0.00                                                $0.00


            Environmental certification ISP 14001 and TS
            Certification ISO/TS16949 for automotive
            suppliers                                                                       $0.00                                          Unknown



 65.        Goodwill

 66.        Total of Part 10.                                                                                                                 $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                               Current value of
                                                                                                                               debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)
            NOL from Internal Revenue Service - value listed is
            gross value                                                                           Tax year 2015/2016                  $6,806,800.00



 73.        Interests in insurance policies or annuities
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 6
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 Debtor         Sona BLW Precision Forge, Inc.                                               Case number (If known) 16-04336-5
                Name



 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)
           Funds that were to be deposited to account in India
           were caused to be deposited into account in Great
           Britain and Debtor was forced to pay the amount twice.
           Reported to Internal Revenue Service Spam website.                                                                         $17,060.00
           Nature of claim         Recovery of funds
           Amount requested                       $10,000.00



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership
           401(k) plan for employees - administered by Epic
           Advisors, Inc.                                                                                                               Unknown



           Dies used to manufacture parts                                                                                               Unknown




 78.       Total of Part 11.                                                                                                     $6,823,860.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 7
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 Debtor          Sona BLW Precision Forge, Inc.                                                                      Case number (If known) 16-04336-5
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $66,950.01

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $177,079.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $2,345,244.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                           $4,124,301.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                          $58,841.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                  $4,572,275.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                      $6,084,550.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +              $6,823,860.00

 91. Total. Add lines 80 through 90 for each column                                                       $18,168,550.01             + 91b.            $6,084,550.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $24,253,100.01




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 8
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                                                                         76
 Fill in this information to identify the case:

 Debtor name         Sona BLW Precision Forge, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)             16-04336-5
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Air Liquide Industrial US                      Describe debtor's property that is subject to a lien                     Unknown                  Unknown
       Creditor's Name                                9000 Gallon liquid nitrogen tank
       Attn: Officer/Managing
       Agent
       180 W. Germantown Pike
       Norristown, PA 19401
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       American Broach and
 2.2                                                                                                                           $4,855.00                Unknown
       Machine Co.                                    Describe debtor's property that is subject to a lien
       Creditor's Name                                American Broaching Machine
       Attn: Officer/Managing
       Agent
       575 South Mansfield St.
       Ypsilanti, MI 48197
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number



Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 7
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                                                                         76
 Debtor       Sona BLW Precision Forge, Inc.                                                           Case number (if know)      16-04336-5
              Name

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.3   Electric Equipment Co.                         Describe debtor's property that is subject to a lien                       $6,495.61         Unknown
       Creditor's Name                                Personal property of the debtor
       Attn: Officer/Managing
       Agent
       P.O. Box 37339
       Raleigh, NC 27627
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Global Premium Finance
 2.4                                                                                                                             Unknown           Unknown
       Company                                        Describe debtor's property that is subject to a lien
       Creditor's Name                                Unearned insurance premiums
       Attn: Officer/Managing
       Agent
       One South Jefferson Street
       Roanoke, VA 24011
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Johnston County Tax
 2.5                                                                                                                           $270,246.57               $0.00
       Collector                                      Describe debtor's property that is subject to a lien
       Creditor's Name                                Property Taxes
       P.O. Box 451
       Smithfield, NC 27577

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2 of 7
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 Debtor       Sona BLW Precision Forge, Inc.                                                           Case number (if know)     16-04336-5
              Name

       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.6   Mazak Corporation                              Describe debtor's property that is subject to a lien                      $3,481.50         Unknown
       Creditor's Name                                Mazak machine
       Attn: Officer/Managing
       Agent
       P.O. Box 702600
       Cincinnati, OH 45270
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.7   Nissan Motor Acceptance                        Describe debtor's property that is subject to a lien                     $24,790.55        $21,025.00
       Creditor's Name                                2013 Nissan Murano - mileage: 36,141
       Attn: Officer/Managing
       Agent
       P.O. Box 660360
       Dallas, TX 75266
       Creditor's mailing address                     Describe the lien
                                                      Purchase Money Security
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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 Debtor       Sona BLW Precision Forge, Inc.                                                           Case number (if know)    16-04336-5
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       NMHG Financial Srvs c/o
 2.8                                                  Describe debtor's property that is subject to a lien                     Unknown           Unknown
       CT Lien Sol
       Creditor's Name                                Personal property
       Attn: Officer/Managing
       Agent
       P.O. Box 29071
       Glendale, CA 91209
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       PNC Bank, N.A. -
 2.9                                                                                                                       $5,390,701.34         Unknown
       Bankruptcy Dept.                               Describe debtor's property that is subject to a lien
       Creditor's Name                                All assets other than Zurich Insurance
       Attn: Officer/Managing                         Proceeds
       Agent
       P.O. Box 5570
       Cleveland, OH 44101
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 0     RayTech Machine Tools                          Describe debtor's property that is subject to a lien                     Unknown           Unknown




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 Debtor       Sona BLW Precision Forge, Inc.                                                           Case number (if know)    16-04336-5
              Name

       Creditor's Name                                AgieCharmilles Roboform 350 SP Die Sinker
       Attn: Officer/Managing
       Agent
       4915 Waters Edge Dr., Ste
       265
       Raleigh, NC 27606
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1   Suntrust Equipment
 1     Finance & Lease                                Describe debtor's property that is subject to a lien                     Unknown           Unknown
       Creditor's Name                                Equipment Promissory Note, Loan and
       Attn: Officer/Managing                         Security Agreement
       Agent
       300 East Joppa Rd., Suite
       700
       Towson, MD 21286
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1   TFC Equipment Fin. c/o
 2     Corp Svc Co                                    Describe debtor's property that is subject to a lien                     Unknown           Unknown
       Creditor's Name                                All personal property
       Attn: Officer/Managing
       Agent
       801 Adlai Stevenson Dr.
       Springfield, IL 62703
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes


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 Debtor       Sona BLW Precision Forge, Inc.                                                           Case number (if know)    16-04336-5
              Name

                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 3     Toyota Motor Credit                            Describe debtor's property that is subject to a lien                     Unknown           Unknown
       Creditor's Name                                Toyota forklift
       Attn: Officer/Managing
       Agent
       P.O. Box 3457
       Torrance, CA 90510-3457
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1   US Bancorp Equipment
 4     Finance                                        Describe debtor's property that is subject to a lien                     Unknown           Unknown
       Creditor's Name                                Certain equipment named in that UCC
       Attn: Officer/Managing                         recorded 8/12/2011, NC Secretary of State
       Agent
       PO Box 230789
       Portland, OR 97281
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.




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 Debtor       Sona BLW Precision Forge, Inc.                                                     Case number (if know)         16-04336-5
              Name


                                                                                                                         $5,700,570.5
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                    7

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
        PNC Bank, N.A. - Commercial Loan SC
        Attn: Officer/Managing Agent                                                                      Line   2.9
        500 First Avenue
        Pittsburgh, PA 15219




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                                                                         76
 Fill in this information to identify the case:

 Debtor name         Sona BLW Precision Forge, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)           16-04336-5
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $1,370.96         $0.00
           Charles Xavier Bynum                                      Check all that apply.
           7904 Mcguire Dr.                                             Contingent
           Raleigh, NC 27616                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Wages
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $239.62         $239.62
           Delia Valdiviezo                                          Check all that apply.
           204 Duke St.                                                 Contingent
           Garner, NC 27529                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Wages
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 28
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 Debtor       Sona BLW Precision Forge, Inc.                                                                  Case number (if known)   16-04336-5
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $92.23     $92.23
          Felicity Barber                                            Check all that apply.
          217 Charlevoix St.                                            Contingent
          Clawson, MI 48017                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00     $0.00
          Internal Revenue Service                                   Check all that apply.
          P.O. Box 7346                                                 Contingent
          Philadelphia, PA 19101-7346                                   Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     For Notice Purposes Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $181.37     $181.37
          Isaac Jerome Stewart                                       Check all that apply.
          103 Plaza Drive                                               Contingent
          Garner, NC 27529                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Javontae Davis                                             Check all that apply.
          751 Country Store Rd.                                         Contingent
          Selma, NC 27576                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 2 of 28
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              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $249.31     $249.31
          Justin Revels                                              Check all that apply.
          212 Millbrook Village Dr.                                     Contingent
          Goldsboro, NC 27530                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $193.53     $193.53
          Keith Currie                                               Check all that apply.
          292 Buck Dunn Rd.                                             Contingent
          Four Oaks, NC 27524                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $922.03     $922.03
          Lamont Pettiway                                            Check all that apply.
          725 Oak Grove Inn Rd                                          Contingent
          Selma, NC 27576-5949                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,674.74    $1,674.74
          Luther Ingram                                              Check all that apply.
          545 Madison Ave.                                              Contingent
          Princeton, NC 27569                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor        Sona BLW Precision Forge, Inc.                                                                 Case number (if known)          16-04336-5
               Name

 2.11       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       $2,192.72    $0.00
            NC Department of Revenue                                 Check all that apply.
            Attn: Bankruptcy Unit                                       Contingent
            P.O. Box 1168                                               Unliquidated
            Raleigh, NC 27602-1168                                      Disputed

            Date or dates debt was incurred                          Basis for the claim:


            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.12       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       $6,397.28    $0.00
            Todd Downie                                              Check all that apply.
            1216 Lafayette Park Lane                                    Contingent
            Matthews, NC 28104                                          Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Wages
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.13       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                        $788.46     $788.46
            Vickie Fowler                                            Check all that apply.
            109 Kirkwall Lane                                           Contingent
            Selma, NC 27576                                             Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Wages
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes



 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                      $829.00
           AAA Scale Company, Inc.                                                     Contingent
           Attn: Officer/Managing Agent                                                Unliquidated
           P.O. Box 7056                                                               Disputed
           Wilson, NC 27895
                                                                                   Basis for the claim:     Account
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes


 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                        $80.84
           Accent Imaging, Inc.                                                        Contingent
           Attn: Officer/Managing Agent                                                Unliquidated
           8121 Brownleigh Dr.                                                         Disputed
           Raleigh, NC 27617
                                                                                   Basis for the claim:     Account
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes




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              Name

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $88.62
          Advanced Calibration Label, LLC                                       Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          2035 Contractors Road, Ste 7                                          Disputed
          Sedona, AZ 86336
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,928.85
          AFC-Holcroft                                                          Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 67000                                                        Disputed
          Detroit, MI 48267
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $93.85
          Airgas National Welders                                               Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 601985                                                       Disputed
          Charlotte, NC 28260-1985
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $57,102.00
          AJAX Tocco Magnethermic                                               Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 78000                                                        Disputed
          Detroit, MI 48278-1449
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,017.25
          Allred Mechanical Services, Inc.                                      Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 7663                                                         Disputed
          Rocky Mount, NC 27804
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $675.00
          American Broach and Machine Co.                                       Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          575 South Mansfield St.                                               Disputed
          Ypsilanti, MI 48197
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $322.17
          Amerigas Propane LP                                                   Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 371473                                                       Disputed
          Pittsburgh, PA 15250-7473
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Sona BLW Precision Forge, Inc.                                                          Case number (if known)            16-04336-5
              Name

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $39,454.76
          Apex Industrial Group                                                 Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          6509 Hilburn Dr., Suite 100                                           Disputed
          Raleigh, NC 27613
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,036.80
          Aramark/AUS Central Lockbox                                           Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 731676                                                       Disputed
          Dallas, TX 75376
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $76.00
          AT&T Mobility                                                         Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 5014                                                         Disputed
          Carol Stream, IL 60197-5014
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $653.00
          Atmosphere Engineering Company                                        Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          419 W. Boden Street                                                   Disputed
          Milwaukee, WI 53207
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,683.70
          ATO AG                                                                Contingent
          Attn: Managing Agent                                                  Unliquidated
          ViaPenate, 4-6850 Mendrisio                                           Disputed
          SWITZERLAND
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,120.00
          Augustin Partners, LLC                                                Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          300 East 42nd St., 14th Floor                                         Disputed
          New York, NY 10017
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,002.09
          B.V. Tech                                                             Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          Bliesstrabe 31 Gersheim 5                                             Disputed
          GERMANY
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,605.85
          BlackHawk Industrial                                                  Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 8599                                                         Disputed
          Saint Louis, MO 63126
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $43,851.00
          Bolt Express                                                          Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          75 Remittance Dr., Ste 1231                                           Disputed
          Chicago, IL 60675
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,500.00
          Braj Aggarwal, CPA, P.C.                                              Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          37-05 74th Street, 3rd Floor                                          Disputed
          Jackson Heights, NY 11372
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $49,069.72
          Callaway Industrial Services, Inc.                                    Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 3128                                                         Disputed
          Mooresville, NC 28117
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $145.66
          Carolina Ice Company                                                  Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          2466 Old Poole Rd.                                                    Disputed
          Kinston, NC 28504
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,204.52
          Carr Lane Roemheld Mfg. Co.                                           Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          927 Horan Drive                                                       Disputed
          Fenton, MO 63026
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $51.15
          CDW Computer Centers, Inc.                                            Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 75723                                                        Disputed
          Chicago, IL 60675
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,726.20
          CEFI, S.R.L.                                                          Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          Viale America 4 Castellamonte 10081                                   Disputed
          ITALY
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $41,793.16
          Ceratizit USA, Inc.                                                   Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 13235                                                        Disputed
          Newark, NJ 07101-3235
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,250.00
          Cherry Bekaert & Holland, LLP                                         Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 25549                                                        Disputed
          Richmond, VA 23261-5549
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,600.00
          Cleveland Deburring Machine Company                                   Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          3370 West 140th Street                                                Disputed
          Cleveland, OH 44111
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,200.00
          Conveying Solutions                                                   Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 1866                                                         Disputed
          Charleston, WV 25327
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,454.00
          Cooley Wire Products Mfg., Co.                                        Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          5025 North River Road                                                 Disputed
          Schiller Park, IL 60176
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $224.00
          Covisint                                                              Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 674600                                                       Disputed
          Detroit, MI 48267-4600
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,179.00
          Crotts & Saunders, LLC                                                Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          2709 Boulder Park Court                                               Disputed
          Winston Salem, NC 27101-4776
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,078.39
          Crystal Springs                                                       Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 660579                                                       Disputed
          Dallas, TX 75266-0579
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,642.65
          Custom Coating, Inc.                                                  Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          1937 Jacob Street                                                     Disputed
          Auburn, IN 46706
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,000.00
          Daryl Hopkins dba Fast Track Expedi                                   Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          6054 S. NC Hwy 231                                                    Disputed
          Middlesex, NC 27557
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,550.00
          Dayco Manufacturing                                                   Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          6116 US 70 Hwy. W.                                                    Disputed
          Clayton, NC 27520
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,902.76
          Dieffenbacher North America                                           Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          9495 Twin Oaks Drive Windsor Ontari                                   Disputed
          CANADA
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $844.54
          Dillon Supply Co., Inc.                                               Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 602541                                                       Disputed
          Charlotte, NC 28260-2541
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,510.04
          Direct Energy Business                                                Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 32179                                                        Disputed
          New York, NY 10087-2179
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $46,314.13
          DSV Air & Sea, Inc.                                                   Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 200876                                                       Disputed
          Pittsburgh, PA 15251-0876
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $82,911.37
          Duke Energy                                                           Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 1003                                                         Disputed
          Charlotte, NC 28201-1003
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,400.00
          Edwards Inc.                                                          Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          4119 Sheep Pasture Road                                               Disputed
          Spring Hope, NC 27882
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,486.00
          Electric Equipment Co.                                                Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 37339                                                        Disputed
          Raleigh, NC 27627
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $292.02
          Elind SPA, Attn: Officer/Agent                                        Contingent
          Viale Delle Industrie 17                                              Unliquidated
          10078 Venaria Reale TO                                                Disputed
          ITALY
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $35,621.26
          Escape Proof, Inc.                                                    Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          1496 Durham St. Oakville Ontario                                      Disputed
          CANADA
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $37,199.59
          Fastenal                                                              Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 978                                                          Disputed
          Winona, MN 55987
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $27,174.75
          Federal Express Corporation                                           Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 371461                                                       Disputed
          Pittsburgh, PA 15250-7461
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $660.14
          Federal Express Freight East                                          Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 223125                                                       Disputed
          Pittsburgh, PA 15251-2125
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $734.60
          Felicity Barber                                                       Contingent
          217 Charlevoix St.                                                    Unliquidated
          Clawson, MI 48017                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,809.63
          Focus Management Group                                                Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          5001 West Lemon St                                                    Disputed
          Tampa, FL 33609
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $488.46
          Ford Credit                                                           Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 552679                                                       Disputed
          Detroit, MI 48255
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,470.00
          Forging Industry Association                                          Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          1111 Superior Ave., Suite 615                                         Disputed
          Cleveland, OH 44114
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,441.15
          Fraisa USA                                                            Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          1111 Superior Ave., Ste 615                                           Disputed
          Cleveland, OH 44114
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,572.66
          Fuchs Lubricants Co.                                                  Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          17050 Lathrop Avenue                                                  Disputed
          Harvey, IL 60426
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,447.50
          Fujifilm North America Corporation                                    Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          Dept. CH19009                                                         Disputed
          Palatine, IL 60055-9009
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,058.40
          G&W Equipment                                                         Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          600 Lawton Road                                                       Disputed
          Charlotte, NC 28216
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,600.00
          Garfinkel Immigaration Law Firm                                       Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          6100 Fairview Rd., Suite 200                                          Disputed
          Charlotte, NC 28210
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $34,726.32
          General Machine & Saw Co.                                             Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          740 West Center Street                                                Disputed
          Marion, OH 43302
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $927,994.77
          GerdauSpecial Steel                                                   Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 67000                                                        Disputed
          Detroit, MI 48267
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,212.20
          Gerlieva Spruhtechnik                                                 Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          Tiergarten Str. 8, 79423 Heitershei                                   Disputed
          GERMANY
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,525.60
          GKI, Inc.                                                             Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          6204 Factory Rd.                                                      Disputed
          Crystal Lake, IL 60014
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $697.74
          Global EDM                                                            Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 713680                                                       Disputed
          Cincinnati, OH 45271
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $975.67
          Graphel Corporation, Inc.                                             Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 369                                                          Disputed
          West Chester, OH 45071
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $96,577.00
          Great American Insurance Group                                        Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          3561 Solutions Center                                                 Disputed
          Chicago, IL 60677
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Greg Jones                                                            Contingent
          c/o Kevin Joyner                                                      Unliquidated
          2301 Sugar Bush Rd, Ste 600                                           Disputed
          Raleigh, NC 27612
                                                                             Basis for the claim:    Civil Action
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,556.52
          Hagemeyer North America, Inc.                                         Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 404753                                                       Disputed
          Atlanta, GA 30384
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,530.84
          Hampton Inn                                                           Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          1695 Outlet Center Dr.                                                Disputed
          Selma, NC 27576
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $750.00
          Hardee's Lawn Precision Cut, Inc.                                     Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          2699 Government Rd.                                                   Disputed
          Clayton, NC 27520
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,568.68
          Harriet Tischer                                                       Contingent
          563 Jacob Way, Apt 206                                                Unliquidated
          Rochester, MI 48307                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $875.00
          Hartzog Granite Company                                               Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          120 marvin Place Road                                                 Disputed
          Lynchburg, VA 24503
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,760.00
          Heat Treating Services LTD., Inc.                                     Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 1889                                                         Disputed
          Simpsonville, SC 29681
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $639.46
          Heatbath Corporation                                                  Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. box 51048                                                        Disputed
          Indian Orchard, MA 01151
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,546.52
          Hitachi Metals America, LLC                                           Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          85 West Algonquin Rd. Ste 400                                         Disputed
          Arlington Heights, IL 60005
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,283.60
          Holland (HMES)                                                        Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          27052 Network Place                                                   Disputed
          Chicago, IL 60673-1270
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,540.15
          HYG Financial Services, Inc.                                          Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 643749                                                       Disputed
          Pittsburgh, PA 15264
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,600.00
          IBI Group of North Carolina, PC                                       Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          801 Corporate Center Dr.                                              Disputed
          Raleigh, NC 27607
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,167.66
          IC-Fluid Power, Inc.                                                  Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          63 Dixie Highway                                                      Disputed
          Rossford, OH 43460
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,000,000.00
          ICICI Bank Limited                                                    Contingent
          Attn: Officer/Manager                                                 Unliquidated
          500 Fifth Avenue, Floor 28                                            Disputed
          New York, NY 10110
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,556.55
          Ingersoll-Rand Co.                                                    Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          15768 Collections Center Dr.                                          Disputed
          Chicago, IL 60693
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,786.54
          Inline Fluidpower                                                     Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 179                                                          Disputed
          Smithfield, NC 27577
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,665.21
          Ionic Technologies                                                    Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          207 Fairforest Way                                                    Disputed
          Greenville, SC 29607
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,832.50
          J&S Fluid Power, LLC                                                  Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 8311                                                         Disputed
          Rocky Mount, NC 27804
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,707.51
          J.G. Weisser Sohne                                                    Contingent
          Werkzuegmaschinenfabrik                                               Unliquidated
          1531 Georgen                                                          Disputed
          GERMANY
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $945.00
          J.J. Keller & Associates, Inc.                                        Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 548                                                          Disputed
          Neenah, WI 54957
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $32.05
          John Cutler                                                           Contingent
          105 Prancer Circle                                                    Unliquidated
          Selma, NC 27576                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,125.00
          Johnston Community College                                            Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 2350                                                         Disputed
          Smithfield, NC 27577
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,991.82
          K&J Enterprises                                                       Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          1400 East Geer St.                                                    Disputed
          Durham, NC 27704
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,929.29
          Kasto-Racine Inc.                                                     Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 14310                                                        Disputed
          Pittsburgh, PA 15239
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,801.91
          Kone Cranes                                                           Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          4401 Gateway Blvd.                                                    Disputed
          Springfield, OH 45502
                                                                             Basis for the claim:    Acount
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $30,626.00
          Landstar Express America, Inc.                                        Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          16881 Collection Center Drive                                         Disputed
          Chicago, IL 60693
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,269.00
          Landstar Ranger, Inc.                                                 Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 784293                                                       Disputed
          Philadelphia, PA 19178-4293
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $152.70
          Lansing Forge Inc.                                                    Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          5232 Aurelius Rd.                                                     Disputed
          Lansing, MI 48911
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,826.98
          Latrobe Specialty Steel Co.                                           Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 644186                                                       Disputed
          Pittsburgh, PA 15264
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,321.11
          Livingston & Haven                                                    Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 890218                                                       Disputed
          Charlotte, NC 28289
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,870.05
          Machine Tech, Inc.                                                    Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          7 Crowders Ridge                                                      Disputed
          Clover, SC 29710
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,451.11
          Mager Scientific, Inc.                                                Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 160                                                          Disputed
          Dexter, MI 48130-0160
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,249.44
          Mazak Corporation                                                     Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 702600                                                       Disputed
          Cincinnati, OH 45270
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,761.09
          McMaster Carr upply Company                                           Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 7690                                                         Disputed
          Chicago, IL 60680
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $26.25
          Metro Technologies                                                    Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          410 South Salsibury St., Suite 112                                    Disputed
          Raleigh, NC 27601
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,400.00
          Miller Transfer                                                       Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 453                                                          Disputed
          Carson, CA 90745
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,365.66
          Mobile Mini                                                           Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 740773                                                       Disputed
          Cincinnati, OH 45274
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,927.70
          Moore's Machine Company of Sanford                                    Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          310 McNeill Road                                                      Disputed
          Sanford, NC 27330
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,933.27
          Morrisette Paper Co.                                                  Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 890982                                                       Disputed
          Charlotte, NC 28289-0982
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,791.70
          Motion Industries Inc.                                                Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 404130                                                       Disputed
          Atlanta, GA 30384
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,478.18
          MSC Industrial Supply                                                 Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          Dept. Ch 0075                                                         Disputed
          Palatine, IL 60055
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $250.00
          National Assoc of Chiefs of Police                                    Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 82188                                                        Disputed
          Phoenix, AZ 85071-2188
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $768.26
          Newage Testing Instruments                                            Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 601466                                                       Disputed
          Charlotte, NC 28260
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $375.00
          Newport Group, Inc.                                                   Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          1350 Treat Blvd, Suite 300                                            Disputed
          Walnut Creek, CA 94597
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,234.00
          North American Steel Co.                                              Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 28126                                                        Disputed
          Cleveland, OH 44128
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,271.70
          Oasis Alignment Services, LLC                                         Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          225 Pckering Road                                                     Disputed
          Rochester, NH 03867
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,620.99
          Ogletree Deakins Nash                                                 Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 89                                                           Disputed
          Greenville, SC 29602
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,236.10
          Pangborn Corp                                                         Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 936006                                                       Disputed
          Atlanta, GA 31193-6006
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,757.00
          Parson's Woodworking                                                  Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 829                                                          Disputed
          Rocky Mount, NC 27801
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,573.71
          Piedmont Natural Gas                                                  Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 660920                                                       Disputed
          Dallas, TX 75266-0920
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $425.93
          Pitney Bowes                                                          Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 371887                                                       Disputed
          Pittsburgh, PA 15250-7874
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $590.00
          PQ Systems                                                            Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 750010                                                       Disputed
          Dayton, OH 45475
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $60,182.00
          Press, Inc.                                                           Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          5330 Manchester Avenue                                                Disputed
          Morristown, TN 37816
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,337.76
          Professional Fire Extinguisher, Inc                                   Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 1115                                                         Disputed
          Clayton, NC 27528
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,113.27
          Quill Corporation                                                     Contingent
          Attn: Managing Agent                                                  Unliquidated
          P.O. Box 37600                                                        Disputed
          Philadelphia, PA
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $266.88
          Red Star Oil Co., Inc.                                                Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          802 Purser Drive                                                      Disputed
          Raleigh, NC 27603
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,360.00
          Rockford Systems, Inc.                                                Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          802 Purser Drive                                                      Disputed
          Raleigh, NC 27603
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,585.00
          Rocky Mount Electric Motor, LLC                                       Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 1063                                                         Disputed
          Rocky Mount, NC 27802
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,002.00
          Rodeco Company, Inc.                                                  Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          5811 Elwin Buchanan Dr.                                               Disputed
          Sanford, NC 27330
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $115.03
          Sachin Maggo                                                          Contingent
          201 October Glory Lane                                                Unliquidated
          Selma, NC 27576                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,620.72
          Sam Analytic Solutions LLC                                            Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          9720 Dayton Court                                                     Disputed
          Raleigh, NC 27617
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,588.93
          Selas Heat Technology Company, LLC                                    Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          11012 Aurora-Hudson Road                                              Disputed
          Streetsboro, OH 44241
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,645.00
          Servo Motors and Drives                                               Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 20923                                                        Disputed
          Milwaukee, WI 53220
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,379.06
          Shamrock Environmental Corporation                                    Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          6106 Corporate Park dr.                                               Disputed
          Browns Summit, NC 27214
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,085.55
          SMS Meer Service, Inc.                                                Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          210 West Kensinger Dr.                                                Disputed
          Cranberry Twp, PA 16066
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $127,147.24
          SONA AutoComp Germany Attn: Officer                                   Contingent
          Papenberger Strabe 37                                                 Unliquidated
          42859 Remscheid                                                       Disputed
          GERMANY
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,028.07
          Sona AutoComp US                                                      Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          500 Oak Tree Drive                                                    Disputed
          Selma, NC 27576
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $348,690.16
          Sona BLW Prazisionsschmiede                                           Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          Paperberger strasse 37 Remscheid                                      Disputed
          42809 GERMANY
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $7,335,167.36
          Sona BLW Precision Forgings Ltd                                       Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          Begumpur Khotola Gurgaon AL 122001                                    Disputed
          INDIA
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,699.25
          Source Scan Agency Pvt Ltd                                            Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          638 Pace City II, Sector 37 II                                        Disputed
          Gurgaon Haryana INDIA
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,808.03
          Southeast Industrial Equipment                                        Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 63230                                                        Disputed
          Charlotte, NC 28263-3230
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $313.14
          Southeast Toyota Finance                                              Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 70831                                                        Disputed
          Charlotte, NC 28272
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,088.04
          Southeastern Freight                                                  Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 100104                                                       Disputed
          Columbia, SC 29202
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,100.00
          Southern AG Carriers, Inc.                                            Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 50335                                                        Disputed
          Albany, GA 31703-0335
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,015.00
          Southern Substation                                                   Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          4522 Appleton Ave                                                     Disputed
          Jacksonville, FL 32210
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,211.00
          SPC Mechanical Corporation                                            Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 3006                                                         Disputed
          Wilson, NC 27895
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,030.88
          Sunbelt Rentals, Inc.                                                 Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          3116 Capital Blvd.                                                    Disputed
          Raleigh, NC 27604
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,095.99
          Suntrust Bank                                                         Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 791250                                                       Disputed
          Baltimore, MD 21279
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,325.00
          Super Systems, Inc.                                                   Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          7205 Edington Dr.                                                     Disputed
          Cincinnati, OH 45249
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $834.43
          Systel Business Equipment                                             Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 41602                                                        Disputed
          Philadelphia, PA 19101
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $338.53
          T&W Welding and Machine Co.                                           Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          1896 Mallard Road                                                     Disputed
          Smithfield, NC 27577
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $21,460.85
          Taylor Enterprises, Inc.                                              Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          2586 Southport road                                                   Disputed
          Spartanburg, SC 29302
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,638.51
          Tennant                                                               Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 71414                                                        Disputed
          Chicago, IL 60694
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $51,476.62
          The PIC Group                                                         Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          36510 Treasury Center                                                 Disputed
          Chicago, IL 60694-6500
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,697.99
          The Roberts Company Field Svcs.                                       Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          133 Forliness Road                                                    Disputed
          Winterville, NC 28590
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,727.08
          Thermal Metal Treating, Inc.                                          Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 367                                                          Disputed
          Aberdeen, NC 28315
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $71,938.31
          TimkenSteel Corporation                                               Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          28777 Network Place                                                   Disputed
          Chicago, IL 60673
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $34,500.00
          Total Quality Logistics                                               Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 634558                                                       Disputed
          Cincinnati, OH 45263-4558
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,280.01
          Town of Selma                                                         Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          100 North Raiford Street                                              Disputed
          Selma, NC 27576
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $302.98
          Uline Shipping Supplies                                               Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 88741                                                        Disputed
          Chicago, IL 60680
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,073.81
          United Machine Works                                                  Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 147                                                          Disputed
          Stokes, NC 27884
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,593.17
          UPS                                                                   Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 7247-0244                                                    Disputed
          Philadelphia, PA 19170-0001
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,976.65
          US Security Associates                                                Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          P.O. Box 931703                                                       Disputed
          Atlanta, GA 31193
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.157     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $249,660.17
           Vardhman Special Steels, Ltd                                         Contingent
           Attn: Officer/Managing Agent                                         Unliquidated
           C-58 Focal Point Ludhiana Punjab AL                                  Disputed
           INDIA
                                                                             Basis for the claim:    Account
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes


 3.158     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $1,509.90
           Waste Management                                                     Contingent
           Attn: Officer/Managing Agent                                         Unliquidated
           P.O. Box 105453                                                      Disputed
           Atlanta, GA 30348-5453
                                                                             Basis for the claim:    Account
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes


 3.159     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $345.00
           WD Service Company                                                   Contingent
           Attn: Officer/Managing Agent                                         Unliquidated
           P.O. Box 147                                                         Disputed
           Bellmawr, NJ 08099
                                                                             Basis for the claim:    Account
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes


 3.160     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $345.00
           WD Service Company                                                   Contingent
           Attn: Officer/Managing Agent                                         Unliquidated
           P.O. Box 147                                                         Disputed
           Bellmawr, NJ 08099
                                                                             Basis for the claim:    Account
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes


 3.161     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $8,499.11
           Wesco CCA                                                            Contingent
           Attn: Officer/Managing Agent                                         Unliquidated
           P.O. Box 642728                                                      Disputed
           Pittsburgh, PA 15264-2728
                                                                             Basis for the claim:    Account
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes


 3.162     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $324.74
           Yashvir Nandal                                                       Contingent
           4002 Woodfield Lake Road                                             Unliquidated
           Cary, NC 27518                                                       Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Account
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any




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              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                 related creditor (if any) listed?            account number, if
                                                                                                                                              any
 4.1       SONA AutoComp Germany
           Klusring 22                                                                           Line     3.129
           49152 Bad Essen GERMANY
                                                                                                        Not listed. Explain

 4.2       Sona BLW Prazisionsschmiede GmbH
           Attn: Officer/Managing Agent                                                          Line     3.131
           Frankfurter Ring 227 Munchen 80807
                                                                                                        Not listed. Explain
           GERMANY


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                   Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.        $                    14,302.25
 5b. Total claims from Part 2                                                                       5b.    +   $                12,623,205.49

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.        $                   12,637,507.74




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 28 of 28
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                                                                         76
 Fill in this information to identify the case:

 Debtor name         Sona BLW Precision Forge, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)         16-04336-5
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.        State what the contract or                   Lease of Ajax Pacer 1
             lease is for and the nature of               Induction Heather
             the debtor's interest

                  State the term remaining                                            AJAX Tocco Magnethermic
                                                                                      Attn: Officer/Managing Agent
             List the contract number of any                                          P.O. Box 78000
                   government contract                                                Detroit, MI 48278-1449


 2.2.        State what the contract or                   Supply Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Dayco Manufacturing, Inc.
             List the contract number of any                                          6116 US 70 West
                   government contract                                                Clayton, NC 27520


 2.3.        State what the contract or                   Lease of 2015 Ford
             lease is for and the nature of               Edge - Account number
             the debtor's interest                        52780578

                  State the term remaining                                            Ford Credit
                                                                                      Attn: Officer/Managing Agent
             List the contract number of any                                          P.O. Box 542000
                   government contract                                                Omaha, NE 68154-8000


 2.4.        State what the contract or                   Rental agreement for
             lease is for and the nature of               forklift model S60FT
             the debtor's interest

                  State the term remaining                                            HYG Financial Services, Inc.
                                                                                      Attn: Officer/Managing Agent
             List the contract number of any                                          P.O. Box 643749
                   government contract                                                Pittsburgh, PA 15264




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 3
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 Debtor 1 Sona BLW Precision Forge, Inc.                                                     Case number (if known)   16-04336-5
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.5.        State what the contract or                   Credit Facility
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining
                                                                                     ICICI Bank Limited
             List the contract number of any                                         500 Fifth Avenue, Floor 28
                   government contract                                               New York, NY 10110


 2.6.        State what the contract or                   Supply Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining

             List the contract number of any                                         Linamar Corporation and Linergy Mfg
                   government contract


 2.7.        State what the contract or                   Lease of New Shimada
             lease is for and the nature of               HS4200N Spindle CNC
             the debtor's interest                        Lathe

                  State the term remaining
                                                                                     Manufacturers Capital, LLC
             List the contract number of any                                         414 Canal Street
                   government contract                                               New Smyrna Beach, FL 32168


 2.8.        State what the contract or                   Rental of storage
             lease is for and the nature of               containers used at
             the debtor's interest                        plant

                  State the term remaining                                           Mobile Mini
                                                                                     Attn: Officer/Managing Agent
             List the contract number of any                                         P.O. Box 79149
                   government contract                                               Phoenix, AZ 85062-9149


 2.9.        State what the contract or                   Managed Service
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                                           Sam IT Solutions LLC
                                                                                     Attn: Officer/Managing Agent
             List the contract number of any                                         7406 Chapel Hill Road
                   government contract                                               Morrisville, NC 27560


 2.10.       State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Sona BLW Global
             List the contract number of any
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 2 of 3
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 Debtor 1 Sona BLW Precision Forge, Inc.                                                     Case number (if known)   16-04336-5
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.11.       State what the contract or                   Lease of 2014 Toyota
             lease is for and the nature of               Camry - Account
             the debtor's interest                        #0148033001390

                  State the term remaining                                           Southeast Toyota Finance
                                                                                     Attn: Officer/Managing Agent
             List the contract number of any                                         P.O. Box 991817
                   government contract                                               Mobile, AL 36691-8817


 2.12.       State what the contract or                   Lease of 2 copiers
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Systel Business Equipment
                                                                                     Attn: Officer/Managing Agent
             List the contract number of any                                         P.O. Box 35870
                   government contract                                               Fayetteville, NC 28303


 2.13.       State what the contract or                   Equipment Leases -
             lease is for and the nature of               Fuji CNC Lathe and
             the debtor's interest                        Okuma CNC Lathe

                  State the term remaining
                                                                                     TCF Equipment Finance, Inc.
             List the contract number of any                                         11100 Wayzata Blvd., Suite 801
                   government contract                                               Hopkins, MN 55305


 2.14.       State what the contract or                   Rental Agreement for
             lease is for and the nature of               Mazak DT20RB
             the debtor's interest

                  State the term remaining                                           US Bancorp Equipment Finance
                                                                                     Attn: Officer/Managing Agent
             List the contract number of any                                         PO Box 230789
                   government contract                                               Portland, OR 97281




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         Sona BLW Precision Forge, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)         16-04336-5
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Sona Autocomp                     500 Oak Tree Drive                                Suntrust Equipment                 D   2.11
             USA, LLC                          Selma, NC 27576                                   Finance & Lease                    E/F
                                                                                                                                    G




Official Form 206H                                                      Schedule H: Your Codebtors                                            Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Sona BLW Precision Forge, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)         16-04336-5
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                             $3,776,406.00
       From 4/01/2016 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                             $8,200,689.00
       From 4/01/2015 to 3/31/2016
                                                                                                   Other


       For year before that:                                                                       Operating a business                           $42,307,839.00
       From 4/01/2014 to 3/31/2015
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




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 Debtor       Sona BLW Precision Forge, Inc.                                                            Case number (if known) 16-04336-5



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               See Exhibit A                                                                                       $0.00              Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                    Value of property

       Manufacturers Capital, LLC                                Debtor signed lease agreement for lathe                                                      Unknown
       414 Canal Street                                          and signed receipt showing equipment had
       New Smyrna Beach, FL 32168                                been received but Debtor never received
                                                                 equipment


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address
       7.1.    Michael McFarland v. Sona                         Sexual                     EEOC                                           Pending
               BLW Precision Forge, Inc.                         Discrimmination                                                           On appeal
                                                                                                                                           Concluded


       7.2.    James Brown vs. Sona BLW                          Racial                     EEOC                                           Pending
               Precision Forge, Inc.                             Discrimination                                                            On appeal
                                                                                                                                           Concluded



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 Debtor       Sona BLW Precision Forge, Inc.                                                                Case number (if known) 16-04336-5



               Case title                                        Nature of case               Court or agency's name and           Status of case
               Case number                                                                    address
       7.3.    Josh Grant vs. Sona BLW                           Workers                                                                Pending
               Precision Forge, Inc.                             Compensation                                                           On appeal
                                                                 claim
                                                                                                                                        Concluded


       7.4.    Greg Jones vs. Sona BLW                           Civil Action                 Johnston County Superior                  Pending
               Precision Forge, Inc.                                                          Court                                     On appeal
                                                                                                                                        Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                Dates given                            Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss             Value of property
       how the loss occurred                                                                                                                                     lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.




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 Debtor        Sona BLW Precision Forge, Inc.                                                            Case number (if known) 16-04336-5



                Who was paid or who received                         If not money, describe any property transferred           Dates            Total amount or
                the transfer?                                                                                                                            value
                Address
       11.1.    Gerald A. Jeutter, Jr.
                Attorney at Law
                P.O. Box 12585                                                                                                 August,
                Raleigh, NC 27605                                                                                              2016                 $17,165.00

                Email or website address


                Who made the payment, if not debtor?




       11.2.    John A. Northen
                Northen Blue, LLP
                P.O. Box 2208
                Chapel Hill, NC 27515                                                                                          July, 2016             $2,700.00

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers           Total amount or
                                                                                                                      were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                  Date transfer          Total amount or
               Address                                           payments received or debts paid in exchange             was made                        value
       13.1 Sachin Maggo
       .                                                         2008 Honda                                              March 2016                   $6,500.00

               Relationship to debtor




 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 4
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15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                     Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
       Selma Self Storage                                            Richard Loh and Janet                Company records in two                    No
       P.O. Box 188                                                  Peterson                             storage units - #133 and 193              Yes
       1003 S Pollock Street
       Selma, NC

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 Debtor      Sona BLW Precision Forge, Inc.                                                             Case number (if known) 16-04336-5




 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address
       NCDENR - Division of Water Quality                                                                 Water samples show levels of           Pending
                                                                                                          zinc and copper are higher             On appeal
                                                                                                          than benchmark - waiting for
                                                                                                                                                 Concluded
                                                                                                          NCDENR reponse


23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None




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    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Cherry Bekaert                                                                                                             2014 to present
                    2626 Glenwood Avenue
                    Suite 200
                    Raleigh, NC 27608

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any                    % of interest, if
                                                                                                          interest                                      any
       Carl Albert Petzoldt                                                                               Board of Directors


       Name                                           Address                                             Position and nature of any                    % of interest, if
                                                                                                          interest                                      any
       Himansua Koirala                                                                                   Board of Directors


       Name                                           Address                                             Position and nature of any                    % of interest, if
                                                                                                          interest                                      any
       Todd Downie                                                                                        President



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 7
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
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 Debtor      Sona BLW Precision Forge, Inc.                                                             Case number (if known) 16-04336-5




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Parvinder Singh Ahluwalia                                                                          President/Director                Resigned March
                                                                                                                                            2016

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Dr. Surinder Kapur                                                                                 Director                          Deceased


       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Richard Loh                                                                                        Secretary                         Resigned August
                                                                                                                                            2016

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Munish Sapra                                                                                       President                         Resigned August
                                                                                                                                            2016

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Dominik Hastenrath                                                                                 Secretary


       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Rodney Dean Kennedy                                                                                Officer in Charge of
                                                                                                          ITAR Matters

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Dinesh Sharma                                                                                      Vice President of
                                                                                                          Operations


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.
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Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
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                                                                         76
 Debtor      Sona BLW Precision Forge, Inc.                                                             Case number (if known) 16-04336-5




    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    Sona Autocomp, LLC                                                                                         EIN:        XX-XXXXXXX

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    Sona Autocomp, LLC                                                                                         EIN:        XX-XXXXXXX

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         September 2, 2016

 /s/ Todd Downie                                                        Todd Downie
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 9
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                         Exhibit A
PAYMENTS TO VENDORS DURING 90 DAYS PRIOR TO 08/19/2016 (non payroll related)
    7/29/2016  705092              773.60 AAA Scale Company, Inc. Wilson NC
     6/8/2016  704684          13,333.03 ABP Induction LLC Union Grove WI
    7/29/2016  705031               88.01 Accent Imaging, Inc. Raleigh NC
    6/23/2016  704750            3,837.40 Accurate Infrared Controls, InChicago IL
     8/5/2016 ACH/Wire             675.64 ADP FEES
     7/8/2016  704873          18,252.01 AFC- Holcroft Detroit MI
     8/3/2016 ACH/Wire           7,171.85 AFC-HOLCROFT
    6/28/2016  704810            7,549.20 AFLAC GROUP INSURANCE COLUMBUS GA
    7/29/2016  705014              288.60 Airgas National Welders Charlotte NC
    6/23/2016  704755            8,457.06 AJAX TOCCO MAGNETHERMIC DETROIT MI
    7/21/2016  704965            1,824.00 ALLIANCE BROACH AND TOOL EAST CHINA MI
    7/12/2016  704896              698.54 Amazon.com Atlanta GA
    7/29/2016  705046            4,200.00 American Broach & Machine CompYpsilanti MI
    7/29/2016  705084          22,258.00 AMERICAN COMPENSATION INSURANCCOLUMBUS OH
    7/21/2016  704937          14,096.45 American Express DALLAS TX
    7/29/2016  705009            2,078.29 AMERIGAS PROPANE LP PITTSBURGH PA
    7/13/2016  704898          10,184.00 ANDREW BELL
    7/29/2016  705068          20,132.12 Apex Industrial Group Raleigh NC
    7/21/2016  704964            7,832.85 ARAMARK DALLAS TX
    7/21/2016  704930            4,091.46 AT & T MOBILITY CAROL STREAM IL
    7/29/2016  705024              144.99 AT&T Atlanta GA
    7/21/2016  704973               76.60 AT&T CAROL STREAM IL
    5/24/2016 ACH/Wire         29,445.81 ATO AG
    6/28/2016  704801              266.50 Automation Direct Atlanta GA
     7/8/2016  704844          12,763.79 BlackHawk Industrial St. Louis MO
     6/8/2016  704657              303.83 BLUSITE SOLUTIONS SOLUTIONS CUMING GA
    7/29/2016  705083          68,030.77 BOLT EXPRESS CHICAGO IL
    7/20/2016  704913              427.00 CAKES UNLIMITED BY BENISHA CLAYTON NC
     6/8/2016  704608              200.00 CAMELIA KRENEK ROCHESTER MI
    7/21/2016  704942              249.84 Carolina Ice Company Inc. Kinston NC
    7/29/2016  705113              228.49 CDW Computer Centers, Inc. Chicago IL
    7/29/2016  705011              610.71 CED Tarheel Cary NC
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6/28/2016    704807       30,783.61   Ceratizit USA, INC NEWARK NJ
5/18/2016    704518          392.95   CEVA INTERNATIONAL INC CAROL STREAM IL
8/15/2016   ACH/Wire      21,601.79   CHARLES SCHWAB
7/22/2016    704996       35,560.00   CHERRY BEKAERT & HOLLAND LLP RICHMOND VA
7/20/2016    704909          150.00   CHRIS ENSIGN
5/18/2016    704471          380.77   CHRISTINE ARMIJO SELMA NC
6/23/2016    704749       11,493.50   CHUBB & SON PITTSBURGH PA
7/20/2016   ACH/Wire     132,745.53   CIGNA
5/18/2016    704558        2,880.12   CLASSY STITCHES CLAYTON NC
 6/8/2016    704694          169.26   CONEXIS PASADENA CA
7/29/2016    705078           42.70   CORNERSTONE CUSTOM PRINTING Clayton NC
6/23/2016    704780       39,861.50   CORPORATE COST SOLUTIONS INC BABYLON NY
6/23/2016    704740          391.00   CORPORATION SERVICE COMPANY PHILADELPHIA PA
7/21/2016    704945          224.00   Covisint Detroit MI
6/23/2016    704722        1,301.00   CROTTS & SAUNDERS, LLC WINSTON SALEM NC
7/29/2016    705056        2,351.48   CRYSTAL SPRINGS DALLAS TX
7/21/2016    704991       10,585.27   Custom Coating, Inc. Auburn IN
 6/8/2016    704606           68.46   CYNTHIA NETHERCUTT SELMA NC
7/21/2016    704952       18,294.00   Daryl Hopkins Middlesex NC
7/20/2016    704912           66.29   DAVID LLOYD
7/21/2016    704983       27,822.00   Dayco Manufacturing Inc Clayton NC
7/29/2016    705007          200.00   DEAN RAMSEY SELMA NC
7/29/2016    705090        1,126.75   DELAWARE SECRETARY OF STATE BINGHAMTON NY
6/23/2016    704723           45.69   Dillon Supply Company CHARLOTTE NC
 7/8/2016    704891        8,372.21   DIRECT ENERGY BUSINESS CHARLOTTE NC
7/21/2016    704955        1,403.06   Dixie Machine Tools Easley SC
 7/8/2016    704886        4,132.50   DMG/ MORI USA Itasca IL
7/29/2016    705023       19,765.12   DSV AIR & SEA INC. US PITTSBURGH PA
 7/6/2016    704821       81,210.47   DUKE ENERGY PROGRESS CHARLOTTE NC
4/29/2016    704420       81,377.91   DUKE ENERGY PROGRESS Raleigh NC
6/23/2016    704730          106.62   Electrical Equipment Co. Raleigh NC
5/18/2016    704550        2,563.00   EMAG L.L.C. Farmington Hills MI
6/23/2016    704758          131.47   Enterprise Rent-A-Car ATLANTA GA
5/18/2016    704472          607.64   ERIC GILBERT COLUMBIA TN
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 8/5/2016    705132       24,359.15   EXECUTIVE PERSONNEL GROUP, LLCWASHINGTON NC
7/29/2016    705111        2,343.00   Fanuc America Corporation Chicago IL
7/29/2016    705019       21,268.58   FASTENAL WINONA MN
7/29/2016    705042        2,878.18   Fedex Freight East PITTSBURGH PA
7/29/2016    705047       28,958.50   Fedex Pittsburgh PA
7/21/2016    704923          911.75   FELICITY BARBER LAKE ORION MI
 6/8/2016    704636          245.50   Festo Corporation Buffalo NY
5/18/2016    704512        8,481.88   FIBRO ROCKFORD IL
8/10/2016    705147       13,687.47   FOCUS MANAGEMENT GROUP USA INC
 7/6/2016    704819          488.46   FORD CREDIT DETROIT MI
 7/8/2016    704884        8,670.79   Forging Equipment Solutions, IMedina OH
 8/8/2016    705144       13,328.17   Fuchs Lubricants Company CHICAGO IL
7/29/2016    705073        2,116.80   G & W Equipment Charlotte NC
 6/8/2016    704645        3,150.00   Garfinkel Immigration Law FirmCharlotte NC
7/29/2016    705003       18,182.49   GENERAL MACHINE & SAW Marion OH
7/19/2016    704907       11,146.10   GERALD A JEUTTER, JR
6/20/2016    792175      120,939.96   GERDAU
 6/8/2016    704696        4,661.26   GERDAU SPECIAL STEEL (Fort SmiDetroit MI
6/23/2016    704713       44,760.48   GERDAU SPECIAL STEEL (Jackson)Detroit MI
6/28/2016    704785       50,912.78   GERDAU SPECIAL STEEL (Monroe) Detroit MI
6/24/2016   ACH/Wire      13,187.00   GERLIEVA
7/12/2016   ACH/Wire      25,449.55   GIF
7/21/2016    704941        1,680.00   GKI, Inc. Chrystal Lake IL
7/21/2016    704950        1,083.60   Global EDM CINCINNATI OH
7/29/2016    705062          134.87   Gothams Deli Smithfield NC
 7/8/2016    704842        1,269.50   Grainger Inc. Palatine IL
7/29/2016    705074        3,185.54   Graphel Corporation Inc. WEST CHESTER OH
5/18/2016    704521       29,360.00   GTI Spindle Technology, Inc. Manchester NH
7/29/2016    705010       15,453.74   Hagemeyer North America Inc. Atlanta GA
7/29/2016    705036          292.02   Hampton Inn SELMA NC
 7/8/2016    704859          970.00   HANOVER INSURANCE CO CHARLOTTE NC
7/29/2016    705032        1,625.00   Hardee's Lawn Precison Cut IncClayton NC
6/24/2016    704782        5,322.49   HARDINGE INC
5/18/2016    704543        1,744.51   Hardinge Inc. Buffalo NY
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7/21/2016    704921        4,262.17   HARIET TISCHER ROCHESTER MI
5/18/2016    704555          450.00   Hartwell & Associates, LLC CHARLESTON SC
8/17/2016   ACH/Wire         747.00   HEALTH EQUITY
7/21/2016    704972          110.60   HEALTH EQUITY DRAPER UT
 6/8/2016    704619          475.00   HEAT TREATING SERVICES ULTD. ISIMPSONVILLE SC
5/18/2016    704515       10,100.00   Helm Instrument Co. Inc. Cincinnati OH
7/21/2016    704961        3,531.20   HOLIDAY INN EXPRESS & SUITES SMITHFIELD NC
7/29/2016    705026        2,677.66   HOLLAND (HMES) CHICAGO IL
7/29/2016    705120          625.00   Hudson Cleveland OH
7/21/2016    704966        1,540.15   HYG FINANCIAL SERVICES INC PITTSBURGH PA
7/29/2016   ACH/Wire       5,233.13   ICICI BANK
 7/8/2016    704848           28.39   Ingersoll-Rand Co. CHICAGO IL
7/29/2016    705094        2,246.19   Inline Fluidpower Smithfield NC
6/16/2016   ACH/Wire      35,803.26   INNOVA
7/29/2016    705087       18,750.00   INTERNATIONAL SEARCH PARTNERS LA MESA CA
7/29/2016    705034       15,673.67   Ionic Technologies Greenville SC
 8/4/2016    705131        2,607.30   J & S Fluid Power, LLC Rocky Mount NC
7/29/2016    705064          395.00   J. R. Lane Plumbing Co. LLC Raleigh NC
 8/5/2016    705136          470.00   JANET PETERSON
6/28/2016    704794          183.24   JASON HOGLE LEROY NY
 8/5/2016    705133          137.20   JENNIFER PIERCE
6/24/2016   ACH/Wire       2,756.59   JG WEISSER
 7/8/2016    704831          150.00   JOHN CUTLER SELMA NC
7/29/2016    705058        6,007.50   K&J ENTERPRISES DURHAM NC
6/24/2016   ACH/Wire       3,675.24   KARL KLINK
 6/8/2016    704638          384.20   Kasto-Racine inc. Pittsburgh PA
7/29/2016    705063       14,760.00   Ka-Wood Gear & Machine CompanyMadison Heights MI
 7/8/2016    704879        1,762.92   KONECRANES Springfield OH
7/29/2016    705079           84.00   LABORATORY CORPORATION OF AMERBURLILNGTON NC
7/29/2016    705102       25,116.00   LANDSTAR EXPRESS AMERICA, INC CHICAGO IL
 6/8/2016    704633          786.00   Lansing Forge Inc. Lansing MI
6/23/2016    704724       17,586.91   Latrobe Specialty Steel Co. Pittsburgh PA
8/12/2016   ACH/Wire       3,345.27   LEUE & NILL
7/21/2016    704928        5,456.81   Livingston & Haven Charlotte NC
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7/29/2016    705013        3,266.31   Lowes Business Account Atlanta GA
5/18/2016    704493        5,953.67   MACHINE TECH, INC. Clover SC
 7/8/2016    704860          434.70   Mager Scientific, Inc. Dexter MI
 7/1/2016   ACH/Wire      18,845.00   MANNING FULTON
 8/4/2016    705130        6,436.33   MANNING, FULTON
 6/6/2016    704598          450.00   MANUFACTURERS CAPITAL, LLC
 8/5/2016    705138           50.00   MARK LUGIBILL
 7/8/2016    704845          348.87   Mazak Corporation Cincinnati OH
 6/8/2016    704615          139.44   McMaster Carr Supply Company Chicago IL
7/22/2016    704994           81.10   MELANIE MORGAN SELMA NC
7/29/2016    705080       15,180.63   METLIFE GROUP BENEFITS KANSAS CITY MO
 6/8/2016    704667           36.99   Metro Technologies Raleigh NC
7/21/2016    704963        1,760.00   Michigan Spline Gage Company Hazel Park MI
 8/3/2016   ACH/Wire       2,255.60   MIKRON
 6/8/2016    704653          920.00   Mitsubishi ElectricAutomation,CHICAGO IL
7/21/2016    704969        5,070.56   MOBILE MINI CINCINNATI OH
7/27/2016    704998        7,374.92   MOORES MACHINE COMPANY OF SANFORD
8/10/2016    705145       33,095.61   MOORE'S MACHINE COMPANY OF SANFORD
7/29/2016    705041        1,886.26   Morrisette Paper Co. CHARLOTTE NC
6/23/2016    704725          368.11   Motion Industries Inc. Atlanta GA
 6/2/2016   ACH/Wire         224.00   MOVING SYSTEMS LLC
7/29/2016    705097       18,041.03   MSC Industrial Supply Palatine IL
7/19/2016    704906        1,500.00   MUNISH SAPRA
5/18/2016    704492          135.00   NC DEPARTMENT OF LABOR/OSHA DIRALEIGH NC
7/19/2016    704904        4,967.58   NC DEPARTMENT OF REVENUE
5/18/2016    704572            1.80   NC QUICK PASS MORRISVILLE NC
6/15/2016    704707        9,294.00   NC STATE UNIVERSITY ACCOUNTS RECEIVABLE
7/21/2016    704948        1,433.99   Nelson Oil Company Hickory NC
7/21/2016    704986          520.09   NISSSAN MOTOR ACCEPTANCE CORP CINCINNATI OH
6/23/2016    704776          520.09   NISSSAN MOTOR ACCEPTANCE CORP PHOENIX AZ
7/20/2016    704914        2,700.00   NORTHERN BLUE LLP
7/21/2016    704970       10,195.77   Ogletree, Deakins,Nash Columbia SC
7/29/2016    705028          110.58   Old Dominion Freight Line Inc.Atlanta GA
7/29/2016    705104          313.72   Omega Engineering, Inc Atlanta GA
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 6/8/2016   704656          457.50   ORBIS Corporation CHICAGO IL
5/18/2016   704486          977.80   PACE ANALYTICAL SERVICES, INC.CHICAGO IL
7/29/2016   705038        3,753.00   Parson's Woodworking, Inc Rocky Mount NC
7/22/2016   704993           40.00   PATRICK HERDER SELMA NC
5/18/2016   704469          156.24   PATRICK NORRIS SELMA NC
6/23/2016   704715           40.00   PAUL EDMONDSON SELMA NC
7/21/2016   704975        2,108.54   PCS COMPANY Detroit MI
7/21/2016   704960        2,568.29   Piedmont Natural Gas Dallas TX
5/18/2016   704581          425.93   PITNEY BOWES GLOBAL FINANCIAL PITTSBURGH PA
7/29/2016   705015          540.95   Pitney Bowes PITTSBURGH PA
5/18/2016   704570        1,850.00   Power Products & Solutions, LLCharlotte NC
7/21/2016   704988       10,528.17   PREMIUM ASSIGNMENT CORPORATIONTALLAHASSEE FL
 7/8/2016   704874       16,777.60   PRESS, Inc. Morristown TN
6/22/2016   792176        3,964.00   PRODUCT SERVICE CENTER
 7/8/2016   704864          565.77   Professional Fire ExtinguisherClayton NC
7/29/2016   705035          282.00   Q-Mark Manufacturing, Inc RANCHO SANTA MARGARITA CA
 7/8/2016   704857        1,322.02   Quill Corporation Philadelphia PA
 6/8/2016   704622          253.58   R&L Carriers Port William OH
7/29/2016   705060          266.88   RED STAR OIL CO, INC Raleigh NC
7/29/2016   705006          609.14   Rhett Allison SELMA NC
 6/8/2016   704605          541.02   RICHARD LOH CHAPEL HILL NC
5/11/2016   704458           53.75   RISHI KOCHAR
 7/8/2016   704833          221.78   RISHI KOCHAR SELMA NC
 7/8/2016   704872        5,852.90   RL KUNZ Air System Pros GREENVILLE NC
7/29/2016   705116          883.00   Rochester Midland Corp Rochester NY
7/29/2016   705049        3,816.94   ROCKY MOUNT ELECTRIC MOTOR LLCROCKY MOUNT NC
7/29/2016   705021       21,062.00   Rodeco Company, Inc. Sanford NC
7/29/2016   705005          168.00   SACHIN MAGGO SELMA NC
6/23/2016   704732          890.27   Safety Kleen Corp Pittsburgh PA
 7/6/2016   704828        9,400.73   Saf-Gard Safety Shoe Company Greensboro NC
7/13/2016   704901        4,463.35   SALEM TOOLS, INC
7/29/2016   705044        2,483.76   Salem Tools, Inc. CHARLOTTE NC
7/21/2016   704974        9,063.58   Sam Analytic Solutions LLC (SaRaleigh NC
7/21/2016   704958          249.00   Samsco Corporation Cleveland OH
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 7/8/2016    704862        2,496.00   SB MACHINE TOOLS - DO NOT USE CHICAGO IL
7/29/2016    705037        3,578.00   SB MACHINE TOOLS CHICAGO IL
 8/5/2016    705137          100.00   SCOTT FINLEY
 7/8/2016    704880          545.22   Selas Heat Technology Company,Streetsboro OH
7/29/2016    705030        1,012.00   SENN DUNN - GSO GREENSBORO NC
7/21/2016    704959        2,372.14   Serapid USA Inc Sterling Heights MI
 6/8/2016    704637          266.88   SFI Electronics, Inc CHARLOTTE NC
7/29/2016    705066       11,199.84   Shamrock Environmental CorporaBrowns Summit NC
7/21/2016    704946          159.76   Shred-it Alamance NC
6/23/2016    704734          846.64   Simplex Grinnell PALATINE IL
 6/8/2016    704688          659.75   SMITHFIELD CITY FLORIST INC SMITHFIELD NC
6/24/2016   ACH/Wire     208,022.60   SONA INDIA
6/24/2016   ACH/Wire      17,400.76   SOURCE SCAN
6/29/2016   ACH/Wire      12,443.68   SOURCE SCAN AGENCY
7/29/2016    705051        3,821.57   Southeast Industrial EquipmentCHARLOTTE NC
 7/6/2016    704823          328.80   SOUTHEAST TOYOTA FINANCE CHARLOTTE NC
7/29/2016    705022        1,694.15   Southeastern Freight Columbia SC
7/29/2016    705008        2,800.00   SOUTHERN AG CARRIERS INC ALBANY GA
7/21/2016    704976        6,712.00   SPC Mechanical Corporation Wilson NC
7/29/2016    705061          125.96   SRS Graphics Selma NC
7/21/2016    704957          863.70   STAPLES ATLANTA GA
6/28/2016    704805        1,418.73   Statesville Process InstrumentStatesville NC
6/28/2016    792177       67,742.51   STEEL DYNAMICS
 8/5/2016    705139        1,889.18   STEPHEN VOGT
7/21/2016    704922        3,390.10   STEPHEN VOGT COLLEGE STATION TX
 7/8/2016    704850        6,530.15   Sunbelt Rentals, Inc Raleigh NC
7/21/2016    704938        4,421.02   SUNTRUST BANK BALTIMORE MD
7/21/2016    704939       39,252.76   SUNTRUST EQUIPMENT FINANCE & LBALTIMORE MD
7/29/2016    705117          450.00   SUPER SYSTEMS, Inc Cincinnati OH
6/23/2016    704741        7,040.00   Superior Die Set Corp OAK CREEK WI
7/29/2016    705086          601.46   SYSTEL BUSINESS EQUIPMENT PHILADELPHIA PA
 6/8/2016    704652          180.99   Systel Office Automation Fayetteville NC
6/15/2016    704706        2,311.92   T&W WELDING AND MACHINE CO
7/29/2016    705126        3,380.00   Taylor Enterprises, Inc. Spartanburg SC
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7/29/2016    705012        7,716.50   TCF EQUIPMENT FINANCE INC. MINNEAPOLIS MN
 6/8/2016    704627          632.93   TENNANT Chicago IL
6/28/2016    704789           32.01   TERRILL LEWELLEN CLAYTON NC
 6/7/2016    704599        2,764.00   THE PERFECT WORKDAY COMPANY
8/12/2016   ACH/Wire      51,274.12   The PIC Group CHICAGO IL
6/23/2016    704773       24,255.00   The Roberts Company Field ServWinterville NC
 7/8/2016    704887        5,282.00   The RoviSys Company Cleveland OH
7/29/2016    705004        5,252.52   Thermal Metal Treating, Inc. Aberdeen NC
7/13/2016    704900        5,828.36   TODD DOWNIE
4/20/2016    704357          303.83   TOI TOI OF NORTH CAROLINA Cumming GA
7/21/2016    704932        3,737.46   Town of Selma Selma NC
5/18/2016    704511          313.14   TOYOTA INDUSTRIES COMMERCIAL FCAROL STREAM IL
7/29/2016    705127       20,335.00   TQL (TOTAL QUALITY LOGISTICS) CINCINNATI OH
 7/8/2016    704853        1,835.00   TR Electronic, Inc Troy MI
7/21/2016    704918           38.88   TRACY KING SELMA NC
7/29/2016    705114          592.29   ULINE SHIPPING SUPPLIES CHICAGO IL
5/18/2016    704580       13,130.00   UNITED EMPLOYMENT GROUP INC ALLENTOWN PA
 8/5/2016    705135        4,577.32   United Machine Works, Inc. Stokes NC
6/30/2016    792178          231.40   UPS BROKERAGE
 6/8/2016    704671           20.52   UPS Supply Chain Solutions Chicago IL
6/23/2016    704737          926.10   UPS United Parcel Service Philadelphia PA
7/21/2016    704956        3,504.64   US Bancorp Equipment Finance ST LOUIS MO
7/29/2016    705048        4,848.48   US SECURITY ASSOCIATES ATLANTA GA
7/29/2016   ACH/Wire     197,791.82   VARDHAM
6/27/2016   ACH/Wire     259,717.16   VARDHMAN
7/29/2016    705059        1,351.58   Vision Service Plan Los Angeles CA
6/21/2016    704712           85.39   WALTER BROWN
7/29/2016    705054          741.48   WASTE MANAGEMENT ATLANTA GA
7/29/2016    705121          345.00   WD SERVICE COMPANY BELLMAWR NJ
7/29/2016    705103       10,915.51   WESCO - CCA Pittsburgh PA
7/21/2016    704931        2,506.77   WINDSTREAM COMMUNICATIONS LOUISVILLE KY
7/29/2016    705017           60.00   Wood Pest Control Smithfield NC
7/29/2016    705089          315.15   XPO LOGISTICS FREIGHT INC PORTLAND OR
                             315.15   XPO LOGISTICS FREIGHT INC PORTLAND OR Total
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                      7,186,237.76 Grand Total
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                                                               United States Bankruptcy Court
                                                                     Eastern District of North Carolina
 In re      Sona BLW Precision Forge, Inc.                                                                Case No.   16-04336-5
                                                                                     Debtor(s)            Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       September 2, 2016                                            /s/ Todd Downie
                                                                          Todd Downie/President
                                                                          Signer/Title




Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
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AAA Scale Company, Inc.                Amerigas Propane LP               Bolt Express
Attn: Officer/Managing Agent           Attn: Officer/Managing Agent      Attn: Officer/Managing Agent
P.O. Box 7056                          P.O. Box 371473                   75 Remittance Dr., Ste 1231
Wilson, NC 27895                       Pittsburgh, PA 15250-7473         Chicago, IL 60675



Accent Imaging, Inc.                   Apex Industrial Group             Braj Aggarwal, CPA, P.C.
Attn: Officer/Managing Agent           Attn: Officer/Managing Agent      Attn: Officer/Managing Agent
8121 Brownleigh Dr.                    6509 Hilburn Dr., Suite 100       37-05 74th Street, 3rd Floor
Raleigh, NC 27617                      Raleigh, NC 27613                 Jackson Heights, NY 11372



Advanced Calibration Label, LLC        Aramark/AUS Central Lockbox       Callaway Industrial Services, Inc.
Attn: Officer/Managing Agent           Attn: Officer/Managing Agent      Attn: Officer/Managing Agent
2035 Contractors Road, Ste 7           P.O. Box 731676                   P.O. Box 3128
Sedona, AZ 86336                       Dallas, TX 75376                  Mooresville, NC 28117



AFC-Holcroft                           AT&T Mobility                     Carolina Ice Company
Attn: Officer/Managing Agent           Attn: Officer/Managing Agent      Attn: Officer/Managing Agent
P.O. Box 67000                         P.O. Box 5014                     2466 Old Poole Rd.
Detroit, MI 48267                      Carol Stream, IL 60197-5014       Kinston, NC 28504



Air Liquide Industrial US              Atmosphere Engineering Company    Carr Lane Roemheld Mfg. Co.
Attn: Officer/Managing Agent           Attn: Officer/Managing Agent      Attn: Officer/Managing Agent
180 W. Germantown Pike                 419 W. Boden Street               927 Horan Drive
Norristown, PA 19401                   Milwaukee, WI 53207               Fenton, MO 63026



Airgas National Welders                ATO AG                            CDW Computer Centers, Inc.
Attn: Officer/Managing Agent           Attn: Managing Agent              Attn: Officer/Managing Agent
P.O. Box 601985                        ViaPenate, 4-6850 Mendrisio       P.O. Box 75723
Charlotte, NC 28260-1985               SWITZERLAND                       Chicago, IL 60675



AJAX Tocco Magnethermic                Augustin Partners, LLC            CEFI, S.R.L.
Attn: Officer/Managing Agent           Attn: Officer/Managing Agent      Attn: Officer/Managing Agent
P.O. Box 78000                         300 East 42nd St., 14th Floor     Viale America 4 Castellamonte 100
Detroit, MI 48278-1449                 New York, NY 10017                ITALY



Allred Mechanical Services, Inc.       B.V. Tech                         Ceratizit USA, Inc.
Attn: Officer/Managing Agent           Attn: Officer/Managing Agent      Attn: Officer/Managing Agent
P.O. Box 7663                          Bliesstrabe 31 Gersheim 5         P.O. Box 13235
Rocky Mount, NC 27804                  GERMANY                           Newark, NJ 07101-3235



American Broach and Machine Co.        BlackHawk Industrial              Charles Xavier Bynum
Attn: Officer/Managing Agent           Attn: Officer/Managing Agent      7904 Mcguire Dr.
575 South Mansfield St.                P.O. Box 8599                     Raleigh, NC 27616
Ypsilanti, MI 48197                    Saint Louis, MO 63126
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Cherry Bekaert & Holland, LLP         Dayco Manufacturing                   Electric Equipment Co.
Attn: Officer/Managing Agent          Attn: Officer/Managing Agent          Attn: Officer/Managing Agent
P.O. Box 25549                        6116 US 70 Hwy. W.                    P.O. Box 37339
Richmond, VA 23261-5549               Clayton, NC 27520                     Raleigh, NC 27627



Cleveland Deburring Machine Company   Dayco Manufacturing, Inc.             Elind SPA, Attn: Officer/Agent
Attn: Officer/Managing Agent          6116 US 70 West                       Viale Delle Industrie 17
3370 West 140th Street                Clayton, NC 27520                     10078 Venaria Reale TO
Cleveland, OH 44111                                                         ITALY



Conveying Solutions                   Delia Valdiviezo                      Escape Proof, Inc.
Attn: Officer/Managing Agent          204 Duke St.                          Attn: Officer/Managing Agent
P.O. Box 1866                         Garner, NC 27529                      1496 Durham St. Oakville Ontario
Charleston, WV 25327                                                        CANADA



Cooley Wire Products Mfg., Co.        Dieffenbacher North America           Fastenal
Attn: Officer/Managing Agent          Attn: Officer/Managing Agent          Attn: Officer/Managing Agent
5025 North River Road                 9495 Twin Oaks Drive Windsor Ontari   P.O. Box 978
Schiller Park, IL 60176               CANADA                                Winona, MN 55987



Covisint                              Dillon Supply Co., Inc.               Federal Express Corporation
Attn: Officer/Managing Agent          Attn: Officer/Managing Agent          Attn: Officer/Managing Agent
P.O. Box 674600                       P.O. Box 602541                       P.O. Box 371461
Detroit, MI 48267-4600                Charlotte, NC 28260-2541              Pittsburgh, PA 15250-7461



Crotts & Saunders, LLC                Direct Energy Business                Federal Express Freight East
Attn: Officer/Managing Agent          Attn: Officer/Managing Agent          Attn: Officer/Managing Agent
2709 Boulder Park Court               P.O. Box 32179                        P.O. Box 223125
Winston Salem, NC 27101-4776          New York, NY 10087-2179               Pittsburgh, PA 15251-2125



Crystal Springs                       DSV Air & Sea, Inc.                   Felicity Barber
Attn: Officer/Managing Agent          Attn: Officer/Managing Agent          217 Charlevoix St.
P.O. Box 660579                       P.O. Box 200876                       Clawson, MI 48017
Dallas, TX 75266-0579                 Pittsburgh, PA 15251-0876



Custom Coating, Inc.                  Duke Energy                           Focus Management Group
Attn: Officer/Managing Agent          Attn: Officer/Managing Agent          Attn: Officer/Managing Agent
1937 Jacob Street                     P.O. Box 1003                         5001 West Lemon St
Auburn, IN 46706                      Charlotte, NC 28201-1003              Tampa, FL 33609



Daryl Hopkins dba Fast Track Expedi   Edwards Inc.                          Ford Credit
Attn: Officer/Managing Agent          Attn: Officer/Managing Agent          Attn: Officer/Managing Agent
6054 S. NC Hwy 231                    4119 Sheep Pasture Road               P.O. Box 552679
Middlesex, NC 27557                   Spring Hope, NC 27882                 Detroit, MI 48255
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Ford Credit                              Gerlieva Spruhtechnik                 Hardee's Lawn Precision Cut, Inc.
Attn: Officer/Managing Agent             Attn: Officer/Managing Agent          Attn: Officer/Managing Agent
P.O. Box 542000                          Tiergarten Str. 8, 79423 Heitershei   2699 Government Rd.
Omaha, NE 68154-8000                     GERMANY                               Clayton, NC 27520



Forging Industry Association             GKI, Inc.                             Harriet Tischer
Attn: Officer/Managing Agent             Attn: Officer/Managing Agent          563 Jacob Way, Apt 206
1111 Superior Ave., Suite 615            6204 Factory Rd.                      Rochester, MI 48307
Cleveland, OH 44114                      Crystal Lake, IL 60014



Fraisa USA                               Global EDM                            Hartzog Granite Company
Attn: Officer/Managing Agent             Attn: Officer/Managing Agent          Attn: Officer/Managing Agent
1111 Superior Ave., Ste 615              P.O. Box 713680                       120 marvin Place Road
Cleveland, OH 44114                      Cincinnati, OH 45271                  Lynchburg, VA 24503



Fuchs Lubricants Co.                     Global Premium Finance Company        Heat Treating Services LTD., Inc.
Attn: Officer/Managing Agent             Attn: Officer/Managing Agent          Attn: Officer/Managing Agent
17050 Lathrop Avenue                     One South Jefferson Street            P.O. Box 1889
Harvey, IL 60426                         Roanoke, VA 24011                     Simpsonville, SC 29681



Fujifilm North America Corporation       Graphel Corporation, Inc.             Heatbath Corporation
Attn: Officer/Managing Agent             Attn: Officer/Managing Agent          Attn: Officer/Managing Agent
Dept. CH19009                            P.O. Box 369                          P.O. box 51048
Palatine, IL 60055-9009                  West Chester, OH 45071                Indian Orchard, MA 01151



G&W Equipment                            Great American Insurance Group        Hitachi Metals America, LLC
Attn: Officer/Managing Agent             Attn: Officer/Managing Agent          Attn: Officer/Managing Agent
600 Lawton Road                          3561 Solutions Center                 85 West Algonquin Rd. Ste 400
Charlotte, NC 28216                      Chicago, IL 60677                     Arlington Heights, IL 60005



Garfinkel Immigaration Law Firm          Greg Jones                            Holland (HMES)
Attn: Officer/Managing Agent             c/o Kevin Joyner                      Attn: Officer/Managing Agent
6100 Fairview Rd., Suite 200             2301 Sugar Bush Rd, Ste 600           27052 Network Place
Charlotte, NC 28210                      Raleigh, NC 27612                     Chicago, IL 60673-1270



General Machine & Saw Co.                Hagemeyer North America, Inc.         HYG Financial Services, Inc.
Attn: Officer/Managing Agent             Attn: Officer/Managing Agent          Attn: Officer/Managing Agent
740 West Center Street                   P.O. Box 404753                       P.O. Box 643749
Marion, OH 43302                         Atlanta, GA 30384                     Pittsburgh, PA 15264



GerdauSpecial Steel                      Hampton Inn                           IBI Group of North Carolina, PC
Attn: Officer/Managing Agent             Attn: Officer/Managing Agent          Attn: Officer/Managing Agent
P.O. Box 67000                           1695 Outlet Center Dr.                801 Corporate Center Dr.
Detroit, MI 48267                        Selma, NC 27576                       Raleigh, NC 27607
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IC-Fluid Power, Inc.               J.G. Weisser Sohne                Keith Currie
Attn: Officer/Managing Agent       Werkzuegmaschinenfabrik           292 Buck Dunn Rd.
63 Dixie Highway                   1531 Georgen                      Four Oaks, NC 27524
Rossford, OH 43460                 GERMANY



ICICI Bank Limited                 J.J. Keller & Associates, Inc.    Kone Cranes
Attn: Officer/Manager              Attn: Officer/Managing Agent      Attn: Officer/Managing Agent
500 Fifth Avenue, Floor 28         P.O. Box 548                      4401 Gateway Blvd.
New York, NY 10110                 Neenah, WI 54957                  Springfield, OH 45502



ICICI Bank Limited                 Javontae Davis                    Lamont Pettiway
500 Fifth Avenue, Floor 28         751 Country Store Rd.             725 Oak Grove Inn Rd
New York, NY 10110                 Selma, NC 27576                   Selma, NC 27576-5949




Ingersoll-Rand Co.                 John Cutler                       Landstar Express America, Inc.
Attn: Officer/Managing Agent       105 Prancer Circle                Attn: Officer/Managing Agent
15768 Collections Center Dr.       Selma, NC 27576                   16881 Collection Center Drive
Chicago, IL 60693                                                    Chicago, IL 60693



Inline Fluidpower                  Johnston Community College        Landstar Ranger, Inc.
Attn: Officer/Managing Agent       Attn: Officer/Managing Agent      Attn: Officer/Managing Agent
P.O. Box 179                       P.O. Box 2350                     P.O. Box 784293
Smithfield, NC 27577               Smithfield, NC 27577              Philadelphia, PA 19178-4293



Internal Revenue Service           Johnston County Tax Collector     Lansing Forge Inc.
P.O. Box 7346                      P.O. Box 451                      Attn: Officer/Managing Agent
Philadelphia, PA 19101-7346        Smithfield, NC 27577              5232 Aurelius Rd.
                                                                     Lansing, MI 48911



Ionic Technologies                 Justin Revels                     Latrobe Specialty Steel Co.
Attn: Officer/Managing Agent       212 Millbrook Village Dr.         Attn: Officer/Managing Agent
207 Fairforest Way                 Goldsboro, NC 27530               P.O. Box 644186
Greenville, SC 29607                                                 Pittsburgh, PA 15264



Isaac Jerome Stewart               K&J Enterprises                   Linamar Corporation and Linergy M
103 Plaza Drive                    Attn: Officer/Managing Agent
Garner, NC 27529                   1400 East Geer St.
                                   Durham, NC 27704



J&S Fluid Power, LLC               Kasto-Racine Inc.                 Livingston & Haven
Attn: Officer/Managing Agent       Attn: Officer/Managing Agent      Attn: Officer/Managing Agent
P.O. Box 8311                      P.O. Box 14310                    P.O. Box 890218
Rocky Mount, NC 27804              Pittsburgh, PA 15239              Charlotte, NC 28289
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Luther Ingram                            Mobile Mini                          Nissan Motor Acceptance
545 Madison Ave.                         Attn: Officer/Managing Agent         Attn: Officer/Managing Agent
Princeton, NC 27569                      P.O. Box 79149                       P.O. Box 660360
                                         Phoenix, AZ 85062-9149               Dallas, TX 75266



Machine Tech, Inc.                       Moore's Machine Company of Sanford   NMHG Financial Srvs c/o CT LienS
Attn: Officer/Managing Agent             Attn: Officer/Managing Agent         Attn: Officer/Managing Agent
7 Crowders Ridge                         310 McNeill Road                     P.O. Box 29071
Clover, SC 29710                         Sanford, NC 27330                    Glendale, CA 91209



Mager Scientific, Inc.                   Morrisette Paper Co.                 North American Steel Co.
Attn: Officer/Managing Agent             Attn: Officer/Managing Agent         Attn: Officer/Managing Agent
P.O. Box 160                             P.O. Box 890982                      P.O. Box 28126
Dexter, MI 48130-0160                    Charlotte, NC 28289-0982             Cleveland, OH 44128



Manufacturers Capital, LLC               Motion Industries Inc.               Oasis Alignment Services, LLC
414 Canal Street                         Attn: Officer/Managing Agent         Attn: Officer/Managing Agent
New Smyrna Beach, FL 32168               P.O. Box 404130                      225 Pckering Road
                                         Atlanta, GA 30384                    Rochester, NH 03867



Mazak Corporation                        MSC Industrial Supply                Ogletree Deakins Nash
Attn: Officer/Managing Agent             Attn: Officer/Managing Agent         Attn: Officer/Managing Agent
P.O. Box 702600                          Dept. Ch 0075                        P.O. Box 89
Cincinnati, OH 45270                     Palatine, IL 60055                   Greenville, SC 29602



McMaster Carr upply Company              National Assoc of Chiefs of Police   Pangborn Corp
Attn: Officer/Managing Agent             Attn: Officer/Managing Agent         Attn: Officer/Managing Agent
P.O. Box 7690                            P.O. Box 82188                       P.O. Box 936006
Chicago, IL 60680                        Phoenix, AZ 85071-2188               Atlanta, GA 31193-6006



Metro Technologies                       NC Department of Revenue             Parson's Woodworking
Attn: Officer/Managing Agent             Attn: Bankruptcy Unit                Attn: Officer/Managing Agent
410 South Salsibury St., Suite 112       P.O. Box 1168                        P.O. Box 829
Raleigh, NC 27601                        Raleigh, NC 27602-1168               Rocky Mount, NC 27801



Miller Transfer                          Newage Testing Instruments           Piedmont Natural Gas
Attn: Officer/Managing Agent             Attn: Officer/Managing Agent         Attn: Officer/Managing Agent
P.O. Box 453                             P.O. Box 601466                      P.O. Box 660920
Carson, CA 90745                         Charlotte, NC 28260                  Dallas, TX 75266-0920



Mobile Mini                              Newport Group, Inc.                  Pitney Bowes
Attn: Officer/Managing Agent             Attn: Officer/Managing Agent         Attn: Officer/Managing Agent
P.O. Box 740773                          1350 Treat Blvd, Suite 300           P.O. Box 371887
Cincinnati, OH 45274                     Walnut Creek, CA 94597               Pittsburgh, PA 15250-7874
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PNC Bank, N.A. - Bankruptcy Dept.         Rocky Mount Electric Motor, LLC      SONA AutoComp Germany
Attn: Officer/Managing Agent              Attn: Officer/Managing Agent         Klusring 22
P.O. Box 5570                             P.O. Box 1063                        49152 Bad Essen GERMANY
Cleveland, OH 44101                       Rocky Mount, NC 27802



PNC Bank, N.A. - Commercial Loan SC Rodeco Company, Inc.                       SONA AutoComp Germany Attn: O
Attn: Officer/Managing Agent        Attn: Officer/Managing Agent               Papenberger Strabe 37
500 First Avenue                    5811 Elwin Buchanan Dr.                    42859 Remscheid
Pittsburgh, PA 15219                Sanford, NC 27330                          GERMANY



PQ Systems                                Sachin Maggo                         Sona AutoComp US
Attn: Officer/Managing Agent              201 October Glory Lane               Attn: Officer/Managing Agent
P.O. Box 750010                           Selma, NC 27576                      500 Oak Tree Drive
Dayton, OH 45475                                                               Selma, NC 27576



Press, Inc.                               Sam Analytic Solutions LLC           Sona Autocomp USA, LLC
Attn: Officer/Managing Agent              Attn: Officer/Managing Agent         500 Oak Tree Drive
5330 Manchester Avenue                    9720 Dayton Court                    Selma, NC 27576
Morristown, TN 37816                      Raleigh, NC 27617



Professional Fire Extinguisher, Inc       Sam IT Solutions LLC                 Sona BLW Global
Attn: Officer/Managing Agent              Attn: Officer/Managing Agent
P.O. Box 1115                             7406 Chapel Hill Road
Clayton, NC 27528                         Morrisville, NC 27560



Quill Corporation                         Selas Heat Technology Company, LLC   Sona BLW Prazisionsschmiede
Attn: Managing Agent                      Attn: Officer/Managing Agent         Attn: Officer/Managing Agent
P.O. Box 37600                            11012 Aurora-Hudson Road             Paperberger strasse 37 Remscheid
Philadelphia, PA                          Streetsboro, OH 44241                42809 GERMANY



RayTech Machine Tools                     Servo Motors and Drives              Sona BLW Prazisionsschmiede Gm
Attn: Officer/Managing Agent              Attn: Officer/Managing Agent         Attn: Officer/Managing Agent
4915 Waters Edge Dr., Ste 265             P.O. Box 20923                       Frankfurter Ring 227 Munchen 8080
Raleigh, NC 27606                         Milwaukee, WI 53220                  GERMANY



Red Star Oil Co., Inc.                    Shamrock Environmental Corporation   Sona BLW Precision Forgings Ltd
Attn: Officer/Managing Agent              Attn: Officer/Managing Agent         Attn: Officer/Managing Agent
802 Purser Drive                          6106 Corporate Park dr.              Begumpur Khotola Gurgaon AL 122
Raleigh, NC 27603                         Browns Summit, NC 27214              INDIA



Rockford Systems, Inc.                    SMS Meer Service, Inc.               Source Scan Agency Pvt Ltd
Attn: Officer/Managing Agent              Attn: Officer/Managing Agent         Attn: Officer/Managing Agent
802 Purser Drive                          210 West Kensinger Dr.               638 Pace City II, Sector 37 II
Raleigh, NC 27603                         Cranberry Twp, PA 16066              Gurgaon Haryana INDIA
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Southeast Industrial Equipment       Suntrust Equipment Finance & Lease   The PIC Group
Attn: Officer/Managing Agent         Attn: Officer/Managing Agent         Attn: Officer/Managing Agent
P.O. Box 63230                       300 East Joppa Rd., Suite 700        36510 Treasury Center
Charlotte, NC 28263-3230             Towson, MD 21286                     Chicago, IL 60694-6500



Southeast Toyota Finance             Super Systems, Inc.                  The Roberts Company Field Svcs.
Attn: Officer/Managing Agent         Attn: Officer/Managing Agent         Attn: Officer/Managing Agent
P.O. Box 70831                       7205 Edington Dr.                    133 Forliness Road
Charlotte, NC 28272                  Cincinnati, OH 45249                 Winterville, NC 28590



Southeast Toyota Finance             Systel Business Equipment            Thermal Metal Treating, Inc.
Attn: Officer/Managing Agent         Attn: Officer/Managing Agent         Attn: Officer/Managing Agent
P.O. Box 991817                      P.O. Box 41602                       P.O. Box 367
Mobile, AL 36691-8817                Philadelphia, PA 19101               Aberdeen, NC 28315



Southeastern Freight                 Systel Business Equipment            TimkenSteel Corporation
Attn: Officer/Managing Agent         Attn: Officer/Managing Agent         Attn: Officer/Managing Agent
P.O. Box 100104                      P.O. Box 35870                       28777 Network Place
Columbia, SC 29202                   Fayetteville, NC 28303               Chicago, IL 60673



Southern AG Carriers, Inc.           T&W Welding and Machine Co.          Todd Downie
Attn: Officer/Managing Agent         Attn: Officer/Managing Agent         1216 Lafayette Park Lane
P.O. Box 50335                       1896 Mallard Road                    Matthews, NC 28104
Albany, GA 31703-0335                Smithfield, NC 27577



Southern Substation                  Taylor Enterprises, Inc.             Total Quality Logistics
Attn: Officer/Managing Agent         Attn: Officer/Managing Agent         Attn: Officer/Managing Agent
4522 Appleton Ave                    2586 Southport road                  P.O. Box 634558
Jacksonville, FL 32210               Spartanburg, SC 29302                Cincinnati, OH 45263-4558



SPC Mechanical Corporation           TCF Equipment Finance, Inc.          Town of Selma
Attn: Officer/Managing Agent         11100 Wayzata Blvd., Suite 801       Attn: Officer/Managing Agent
P.O. Box 3006                        Hopkins, MN 55305                    100 North Raiford Street
Wilson, NC 27895                                                          Selma, NC 27576



Sunbelt Rentals, Inc.                Tennant                              Toyota Motor Credit
Attn: Officer/Managing Agent         Attn: Officer/Managing Agent         Attn: Officer/Managing Agent
3116 Capital Blvd.                   P.O. Box 71414                       P.O. Box 3457
Raleigh, NC 27604                    Chicago, IL 60694                    Torrance, CA 90510-3457



Suntrust Bank                        TFC Equipment Fin. c/o Corp Svc Co   Uline Shipping Supplies
Attn: Officer/Managing Agent         Attn: Officer/Managing Agent         Attn: Officer/Managing Agent
P.O. Box 791250                      801 Adlai Stevenson Dr.              P.O. Box 88741
Baltimore, MD 21279                  Springfield, IL 62703                Chicago, IL 60680
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United Machine Works                  Yashvir Nandal
Attn: Officer/Managing Agent          4002 Woodfield Lake Road
P.O. Box 147                          Cary, NC 27518
Stokes, NC 27884



UPS
Attn: Officer/Managing Agent
P.O. Box 7247-0244
Philadelphia, PA 19170-0001



US Bancorp Equipment Finance
Attn: Officer/Managing Agent
PO Box 230789
Portland, OR 97281



US Security Associates
Attn: Officer/Managing Agent
P.O. Box 931703
Atlanta, GA 31193



Vardhman Special Steels, Ltd
Attn: Officer/Managing Agent
C-58 Focal Point Ludhiana Punjab AL
INDIA



Vickie Fowler
109 Kirkwall Lane
Selma, NC 27576




Waste Management
Attn: Officer/Managing Agent
P.O. Box 105453
Atlanta, GA 30348-5453



WD Service Company
Attn: Officer/Managing Agent
P.O. Box 147
Bellmawr, NJ 08099



Wesco CCA
Attn: Officer/Managing Agent
P.O. Box 642728
Pittsburgh, PA 15264-2728
